     Case 3:20-cv-01809-DMS-WVG Document 27 Filed 01/14/21 PageID.156 Page 1 of 13



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 8                                  UNITED STATES DISTRICT COURT
 9                               SOUTHERN DISTRICT OF CALIFORNIA
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11     GRADY SHAUGHNESSY, individually                          Case No.: 20-CV-1809-DMS-WVG
       and on behalf of all others similarly
12
       situated,                                                ORDER ON JOINT MOTION FOR
13                                             Plaintiff,       PROTECTIVE ORDER
14     v.
15
       LVNV FUNDING, LLC; RESURGENT
16     CAPITAL SERVICES, LP; and DOES 1
       through 5,
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                                           Defendants.
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19
             On January 13, 2021, the Parties filed a Joint Motion for Protective Order, which
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      was styled as a “Stipulated Protective Order” (“Joint Motion”)1. (Doc. No. 26.) The Joint
21
      Motion seeks to preserve the confidentiality of certain documents and information to be
22
      exchanged in the course of this litigation. Having reviewed and considered the Parties’
23
      submission, the Court finds the Joint Motion complies with all applicable rules, including
24
      this Court’s Civil Chambers Rule V: Stipulated Protective Order Provisions for Filing
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      1 Civil Local Rule 7.2(b) requires the Parties to file “any stipulation for which court approval is sought
28    [to] first be filed as a ‘joint motion.’” Civ. L.R. 7.2(b).

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                                                                                            20-CV-1809-DMS-WVG
     Case 3:20-cv-01809-DMS-WVG Document 27 Filed 01/14/21 PageID.157 Page 2 of 13



 1    Documents under Seal. Accordingly, the Court GRANTS the Parties’ Joint Motion. Upon
 2    issuance of this Order, the following language, as agreed to by the Parties and reflected in
 3    their proposed order as lodged with this Court’s Chambers, shall become enforceable:
 4          IT IS HEREBY STIPULATED by and between Plaintiff Grady Shaughnessy
 5    (“Plaintiff”) and Defendants LVNV Funding, LLC and Resurgent Capital Services, LP
 6    (“Defendants”) through their respective attorneys of record, as follows:
 7          WHEREAS, the parties expect that discovery in this action will encompass
 8    confidential and proprietary documents, including without limitation financial data such as
 9    sales data, revenues, costs, pricing structure, customer information, purchasing
10    information, tax returns, business strategies, and potentially other non-public information,
11    such as personal income, credit and other confidential information of Plaintiff or Plaintiff’s
12    witnesses.
13          THEREFORE, It is hereby stipulated, and the parties hereby request, that the Court
14    enter a protective order as follows:
15          (A)      SCOPE:
16          a.       This Protective Order shall limit the use and/or disclosure of documents,
17    deposition testimony, and related information which are, or which embody or disclose any
18    information, designated hereunder as “CONFIDENTIAL” or as “CONFIDENTIAL--
19    ATTORNEYS’ EYES ONLY” and shall apply to:
20          i.       All such documents so designated in accordance with this Protective Order
21    and all information contained therein;
22          ii.      Portions of deposition testimony and transcripts and exhibits thereto which
23    include, refer, or relate to any designated “CONFIDENTIAL” or “CONFIDENTIAL--
24    ATTORNEYS’ EYES ONLY” information;
25          iii.     All information, copies, extracts, and complete or partial summaries prepared
26    or   derived     from    information   that   was    designated    “CONFIDENTIAL”          or
27    “CONFIDENTIAL--ATTORNEYS’ EYES ONLY”; and
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                                                                                 20-CV-1809-DMS-WVG
     Case 3:20-cv-01809-DMS-WVG Document 27 Filed 01/14/21 PageID.158 Page 3 of 13



 1          iv.    Portions of briefs, memoranda, or any writing filed with or otherwise supplied
 2    to the Court under seal, which include or refer to any information designated
 3    “CONFIDENTIAL” or “CONFIDENTIAL--ATTORNEYS’ EYES ONLY”.
 4          b.     Any person (i.e., any individual or entity) designating documents, testimony,
 5    or other information as “CONFIDENTIAL” or “CONFIDENTIAL--ATTORNEYS’
 6    EYES ONLY” hereunder asserts that he, she, or it believes in good faith that such material
 7    is his, her, or its Confidential Information which is not otherwise available to the public
 8    generally, or is Confidential Information which the person believes is or may be
 9    encompassed by a pre-existing confidentiality agreement with any other person.
10          c.     “Confidential Information” is defined as documents, material, or testimony
11    that is private or constitutes and/or relates to (a) trade secrets; (b) business strategies,
12    decisions, and/or negotiations; (c) financial, budgeting, and/or accounting information; (d)
13    customer information, including prospective customers; and (e) marketing studies,
14    proformas, projections, and similar information relating to the value and/or potential value
15    of stock, science and technology, and/or other assets or liabilities.
16          d.     Confidential     Information     ordinarily    should      be    designated    as
17    “CONFIDENTIAL” rather than “CONFIDENTIAL--ATTORNEYS’ EYES ONLY.” A
18    “CONFIDENTIAL--ATTORNEYS’ EYES ONLY” designation is appropriate only where
19    the Confidential Information is so extremely sensitive in the context of this case that there
20    is a real danger that the party producing the information could be prejudiced if the
21    information is disclosed under the protection provided by a “CONFIDENTIAL”
22    designation. Examples of information warranting a “CONFIDENTIAL--ATTORNEYS’
23    EYES ONLY” designation are documents which contain, disclose, or reflect trade secrets,
24    sensitive customer information, business and marketing plans and information, or similarly
25    competitively sensitive information.
26          e.     Nothing in this Order and no party’s designation of any document or
27    information as “CONFIDENTIAL” or “CONFIDENTIAL--ATTORNEYS’ EYES
28    ONLY” shall be construed to constrain, preclude, or otherwise affect in any manner the

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                                                                                   20-CV-1809-DMS-WVG
     Case 3:20-cv-01809-DMS-WVG Document 27 Filed 01/14/21 PageID.159 Page 4 of 13



 1    independent research and development, marketing, product development, or other
 2    technical activities of the parties.
 3           f.     Nothing in this Order and no party’s designation of any document as
 4    “CONFIDENTIAL” or “CONFIDENTIAL--ATTORNEYS’ EYES ONLY” shall be
 5    construed to constrain, preclude, or otherwise affect the use (including the ability to include
 6    the document or information in papers not filed under seal) of another party’s documents
 7    which are duplicates of such designated documents provided that such duplicate documents
 8    were lawfully obtained by such party through means independent of the discovery process.
 9           g.     A party’s failure to designate a document as its Confidential Information
10    where the document was produced by another party and designated by the producing party
11    as that party’s Confidential Information shall not be construed to waive the non-designating
12    party’s claim, with respect to present and future litigation between these or other parties,
13    that the document contains the non-designating party’s Confidential Information.
14           (B)    DESIGNATION              OF   DOCUMENTS        AND       DEPOSITIONS         AS
15    “CONFIDENTIAL” OR “CONFIDENTIAL--ATTORNEYS’ EYES ONLY”:
16           a.     Designation of a document as “CONFIDENTIAL” by the producing party
17    shall be made by conspicuously stamping or writing “CONFIDENTIAL” on each page, or
18    portion thereof, which is deemed “CONFIDENTIAL.”
19           b.     Designation of a document as “CONFIDENTIAL--ATTORNEYS’ EYES
20    ONLY” by the producing party shall be made by conspicuously stamping or writing
21    “CONFIDENTIAL--ATTORNEYS’ EYES ONLY” on each page, or portion thereof,
22    which is deemed “CONFIDENTIAL--ATTORNEYS’ EYES ONLY.”
23           c.     Designation of a deposition or other pretrial testimony, or portions thereof, as
24    “CONFIDENTIAL” or “CONFIDENTIAL--ATTORNEYS’ EYES ONLY” shall be made
25    by a statement on the record by counsel for the party or other person making the claim of
26    confidentiality at the time of such testimony. The portions of depositions so designated as
27    “CONFIDENTIAL” or “CONFIDENTIAL--ATTORNEYS’ EYES ONLY” shall be taken
28    only in the presence of persons qualified to receive such information pursuant to the terms

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                                                                                 20-CV-1809-DMS-WVG
     Case 3:20-cv-01809-DMS-WVG Document 27 Filed 01/14/21 PageID.160 Page 5 of 13



 1    of this Protective Order, the court reporter, the deponent, and the deponent’s attorney.
 2    Failure of any person to comply with a request to leave the deposition room will constitute
 3    sufficient justification for the witness to refuse to answer any question calling for disclosure
 4    of Confidential Information so long as persons not entitled by this Protective Order to have
 5    access to such information are in attendance. Thereafter, any counsel may reopen the
 6    deposition into areas which the witness refused to answer after bringing a motion for
 7    protective order to resolve whether the person who refused to leave the deposition should
 8    be allowed to be present during questioning. After resolution of said motion, counsel shall
 9    be allowed to continue said deposition with respect to the questions, and lines of
10    questioning, which the deponent refused to answer, though the court may order that the
11    deposition continue outside the presence of the person who refused to leave the initial
12    deposition. The applicable portions of such deposition transcripts shall be clearly marked
13    “CONFIDENTIAL” or “CONFIDENTIAL ATTORNEYS’ EYES ONLY” on each page
14    containing the Confidential Information.
15          d.       Any party may designate documents or portions of deposition transcripts as
16    containing Confidential Information even if not initially marked as “CONFIDENTIAL” or
17    “CONFIDENTIAL--ATTORNEYS’ EYES ONLY” in accordance with the terms of this
18    Protective Order by so advising counsel for each party in writing within twenty-one (21)
19    calendar days of the receipt of the document or deposition transcript which he, she, or it
20    wishes to designate as Confidential Information. Thereafter each such document or
21    transcript shall be treated in accordance with the terms of this Protective Order. Any person
22    served with written notice of any such designation of previously produced documents or
23    deposition transcripts as containing Confidential Information shall thereafter treat such
24    information as if it had been designated as “CONFIDENTIAL” or “CONFIDENTIAL--
25    ATTORNEYS’ EYES ONLY” at the time he, she, or it first received it in connection with
26    this action and shall mark all copies of such documents in his, her, or its possession
27    accordingly.
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                                                                                  20-CV-1809-DMS-WVG
     Case 3:20-cv-01809-DMS-WVG Document 27 Filed 01/14/21 PageID.161 Page 6 of 13



 1          (C)    LIMITATIONS           ON       DISCLOSURE           OF       CONFIDENTIAL
 2    INFORMATION:
 3          a.     No Confidential Information shall be disclosed by anyone receiving such
 4    information to anyone other than those persons designated herein, and in no event shall
 5    Confidential Information be used, either directly or indirectly, by anyone receiving such
 6    information for any business, commercial or competitive purpose or for any purpose
 7    whatsoever other than the preparation for or trial of this action in accordance with the
 8    provisions of this Protective Order.
 9          b.     Confidential Information designated “CONFIDENTIAL” shall not be
10    disclosed by any person who has received such information through discovery in this action
11    to any other person except to:
12          i.     Retained counsel for any party to this action and their respective associates,
13    clerks and employees involved in the conduct of this litigation, but not including in-house
14    counsel to either party, defined as counsel regularly employed or paid by, or associated
15    with, a party, and/or whose offices are located within any premises of a party;
16          ii.    The parties hereto, and their present officers, directors and employees;
17          iii.   Outside experts and consultants retained by a party for the purpose of
18    preparing or assisting in this litigation, and their respective clerks and employees involved
19    in assisting them in this litigation, to the extent deemed necessary by counsel;
20          iv.    Any person who actually was involved in the preparation of the document or
21    who appears on the face of the document as the author, addressee, or other recipient or
22    currently is affiliated with the party that produced or appears to have prepared said
23    document;
24          v.     Court reporters and similar personnel, provided further that Confidential
25    Information filed with the Clerk of the Court shall be sealed subject to the terms of
26    Paragraph IV, infra, and released only by order of the Court or agreement of counsel;
27          vi.    Deponents with respect to whom the attorney for the examining party believes
28    in good faith that disclosure of Confidential Information should be made in order to

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                                                                                20-CV-1809-DMS-WVG
     Case 3:20-cv-01809-DMS-WVG Document 27 Filed 01/14/21 PageID.162 Page 7 of 13



 1    conduct relevant examination of such deponent on topics about which the attorney in good
 2    faith believes the deponent may have relevant information. In the case of a deponent who
 3    was not an author or recipient of the Confidential Information, and who has not previously
 4    agreed to be bound by the terms of this Order, the attorney conducting the examination
 5    shall limit disclosure of confidential information by any means practicable (i.e., redaction
 6    or severance of non-relevant portions) to only that which is in good faith required to
 7    conduct a meaningful examination of the witness, and shall show all counsel a copy of said
 8    redacted document before showing it to the witness. Any violation of this provision, or
 9    objection by counsel to showing the document to the witness, shall entitle the objecting
10    party to suspend the deposition as to the Confidential Information at issue and any lines of
11    questioning relating to the Confidential Information at issue, and to apply to the Court for
12    a further Protective Order or other appropriate relief;
13          vii.   Any other person, either with the prior written consent of the party who has
14    designated such information as confidential or pursuant to a Court order; and
15          viii. The jury, judge and court personnel at the time of trial.
16          c.     Confidential Information designated “CONFIDENTIAL--ATTORNEYS’
17    EYES ONLY” shall not be disclosed by any person who has received such information
18    through discovery in this action to any other person except to:
19          i.     Retained counsel for any party to this action and their respective associates,
20    clerks and employees involved in the conduct of this litigation, but not including in-house
21    counsel to either party, defined as counsel regularly employed or paid by, or associated
22    with, a party, and/or whose offices are located within any premises of a party;
23          ii.    Outside experts and outside consultants assisting in this litigation, and their
24    respective clerks and employees involved in assisting them in this litigation, to the extent
25    deemed necessary by counsel;
26          iii.   Any person who actually was involved in the preparation of the document or
27    who appears on the face of document as the author, addressee, or other recipient, or is
28    currently affiliated with the party that produced or appears to have prepared said document;

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                                                                               20-CV-1809-DMS-WVG
     Case 3:20-cv-01809-DMS-WVG Document 27 Filed 01/14/21 PageID.163 Page 8 of 13



 1          iv.    Court reporters and similar personnel, provided further that Confidential
 2    Information filed with the Clerk of the Court shall be sealed subject to the terms of
 3    Paragraph IV, infra, and released only by order of the Court or agreement of counsel;
 4          v.     Deponents with respect to whom the attorney for the examining party believes
 5    in good faith that disclosure of Confidential Information should be made in order to
 6    conduct relevant examination of such deponent on topics about which the attorney in good
 7    faith believes the deponent may have relevant information. In the case of a deponent who
 8    was not an author or recipient of the Confidential Information, and who has not previously
 9    agreed to be bound by the terms of this Order, the attorney conducting the examination
10    shall limit disclosure of confidential information by any means practicable (i.e., redaction
11    or severance of non-relevant portions) to only that which is in good faith required to
12    conduct a meaningful examination of the witness, and shall show all counsel a copy of said
13    redacted document before showing it to the witness. Any violation of this provision, or
14    objection by counsel to showing the document to the witness, shall entitle the objecting
15    party to suspend the deposition as to the Confidential Information at issue and any lines of
16    questioning relating to the Confidential Information at issue, and to apply to the Court for
17    a further Protective Order or other appropriate relief; and
18          vi.    Any other person, either with the prior written consent of the party who has
19    designated such information as confidential or pursuant to a Court order.
20          vii.   Any designation of documents, or portions thereof, as “CONFIDENTIAL--
21    ATTORNEYS’ EYES ONLY” shall be reserved for only those instances in which it is
22    truly justified. If an objection to such designation is brought to the Court’s attention, and
23    the Court determines that such “CONFIDENTIAL--ATTORNEYS’ EYES ONLY”
24    designation was not truly justified and without merit, the Court reserves the right to de-
25    designate all “CONFIDENTIAL--ATTORNEYS’ EYES ONLY” to “CONFIDENTIAL.”
26          d.     Before any person described in paragraphs 3(b)(iii), 3(b)(vii), 3(c)(ii) or
27    3(c)(vi) receives or is shown any document or information which has been designated as
28    confidential, such person shall be given a copy of this Protective Order and shall agree in

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                                                                                20-CV-1809-DMS-WVG
     Case 3:20-cv-01809-DMS-WVG Document 27 Filed 01/14/21 PageID.164 Page 9 of 13



 1    writing, in the form of the “Agreement to be Bound By Terms Of The Protective Order”
 2    attached hereto as Exhibit A, to be bound by the terms hereof. The original of each such
 3    Acknowledgment and Agreement shall be maintained by counsel, and transmitted by
 4    facsimile to all other counsel of record. If any counsel objects to showing the signatory
 5    documents subject to this Order, the objecting party shall give facsimile notice of its
 6    objections and the grounds therefore and shall have five business days to file and serve a
 7    motion for protective order. If no objection is raised or no motion for protective order is
 8    filed and served within five days thereafter, all objections to showing the signatory
 9    documents shall be waived and the signatory may be shown the documents subject to this
10    Order. If the person does not so agree, the person may not be shown the document until
11    after a motion for protective order is brought and an order obtained preventing the person
12    from misusing any information in the document.
13          e.     Nothing in this Protective Order shall be construed to require execution of the
14    written Acknowledgement and Agreement referred to in paragraph 3(d) above, or to
15    prevent disclosure of Confidential Information, by the party producing and designating
16    such Confidential Information, or by any employee of such party.
17          f.     Nothing in this Protective Order shall prevent counsel for either party from
18    summarizing or discussing in general terms the nature of documents designated as
19    “CONFIDENTIAL” or “CONFIDENTIAL--ATTORNEYS’ EYES ONLY” with
20    representatives of their respective clients, outside experts and consultants, deponents or
21    potential witnesses, provided such summary or discussion does not disclose, in any way,
22    the substance of the document so designated, the Confidential Information contained
23    therein, and/or trade secret information of another party.
24          (D)    FILE UNDER SEAL:
25          No document shall be filed under seal unless counsel secures a court order allowing
26    the filing of a document under seal. An application to file a document under seal shall be
27    served on opposing counsel, and on the person or entity that has custody and control of the
28    document, if different from opposing counsel. If opposing counsel, or the person or entity

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                                                                               20-CV-1809-DMS-WVG
 Case 3:20-cv-01809-DMS-WVG Document 27 Filed 01/14/21 PageID.165 Page 10 of 13



 1   who has custody and control of the document, wishes to oppose the application, he/she
 2   must contact the chambers of the judge who will rule on the application, to notify the
 3   judge’s staff that an opposition to the application will be filed.
 4         (E)    CHALLENGE TO CONFIDENTIALITY DESIGNATION:
 5         Any party who disagrees with the designation by a party of a document or other
 6   information as “CONFIDENTIAL” or “CONFIDENTIAL--ATTORNEYS’ EYES
 7   ONLY” may bring a motion before the Court requesting that the Court find that the
 8   document or other information is, in fact, not confidential. Prior to bringing such motion,
 9   a party who objects to any other party’s designation of documents or other information as
10   “CONFIDENTIAL” or “CONFIDENTIAL--ATTORNEYS’ EYES ONLY” shall notify
11   the other party in writing of the objection and meet and confer in good faith to resolve the
12   objection.   The interested parties or other persons shall attempt to resolve such
13   disagreements before submitting them to the Court. Any challenge must be brought to the
14   Court within thirty days of receiving the document(s). Pending resolution of any dispute
15   concerning such designation, all parties and persons governed by this Protective Order shall
16   treat as “CONFIDENTIAL” or “CONFIDENTIAL--ATTORNEYS’ EYES ONLY” all
17   documents     and   information    previously designated       as    “CONFIDENTIAL”      or
18   “CONFIDENTIAL--ATTORNEYS’ EYES ONLY” under the terms of this Protective
19   Order. If a motion challenging the confidentiality designation is brought, the party or
20   person asserting that a document or other information is properly designated as
21   “CONFIDENTIAL” or “CONFIDENTIAL--ATTORNEYS’ EYES ONLY” shall bear the
22   burden of proving that the document or other information is Confidential Information.
23         (F)    SURVIVAL OF ORDER - RETURN OF DOCUMENTS:
24         a.     The provisions of this Order shall continue in effect until otherwise ordered
25   by the Court after notice and an opportunity to be heard is afforded to the parties to this
26   action. The final determination or settlement of this action shall not relieve any person
27   who has received Confidential Information or agreed to be bound by the terms of this
28   Protective Order of his, her, or its obligations hereunder.          This Court shall retain

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                                                                               20-CV-1809-DMS-WVG
 Case 3:20-cv-01809-DMS-WVG Document 27 Filed 01/14/21 PageID.166 Page 11 of 13



 1   jurisdiction after such final determination or settlement to enforce the provisions of this
 2   Order. Upon completion of the litigation, all documents (including copies of documents)
 3   containing Confidential Information shall be destroyed or returned to counsel for the
 4   producing party, except that the parties’ respective attorneys of record may retain one copy
 5   of each such document for use in connection with any disputes which may arise under the
 6   Court’s retention of jurisdiction as provided for herein. Within sixty days of the conclusion
 7   of this litigation, the attorneys for the receiving party shall notify the attorneys for the
 8   producing party that such return or destruction occurred.
 9         b.     Except as provided in Sections 4 or 7 hereof, documents or things containing
10   the other party’s Confidential Information shall at all times be in the physical possession
11   of those persons qualifying under Section 3 hereunder, or kept by counsel of record either
12   at the premises regularly maintained by such counsel of record as and for their respective
13   law offices, or otherwise in their sole custody or control.
14         (G)    USE OF OWN DOCUMENTS BY PRODUCING PARTY:
15         Nothing in this Protective Order shall limit the use by any party or other person of
16   his, her or its own document(s) or information, or any other documents or information
17   obtained independently of discovery, even if such document(s) or information have been
18   designated as “CONFIDENTIAL” or “CONFIDENTIAL--ATTORNEYS’ EYES ONLY.”
19         (H)    APPLICATIONS TO COURT:
20         a.     This Protective Order shall not preclude or limit any party’s right to oppose
21   or object to discovery on any ground which otherwise would be available. This Protective
22   Order shall not preclude or limit any party’s right to seek in camera review or to seek
23   further and additional protection against or limitation upon production or dissemination of
24   information produced in response to discovery, including documents and their contents.
25         b.     Any person to or by whom disclosure or inspection is made in violation of this
26   Protective Order, and who has knowledge of this Protective Order, shall be bound by the
27   terms hereof.
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                                                                               20-CV-1809-DMS-WVG
 Case 3:20-cv-01809-DMS-WVG Document 27 Filed 01/14/21 PageID.167 Page 12 of 13



 1         c.     The parties hereby, and all other persons who receive Confidential
 2   Information pursuant hereto, agree that any party or other person injured by a violation of
 3   this Order does not have an adequate remedy at law and that an injunction against such
 4   violation is an appropriate remedy. In the event any person shall violate or threaten to
 5   violate any terms of this Order, the parties agree that the aggrieved party may immediately
 6   apply to obtain injunctive relief against any such person. In the event the aggrieved party
 7   shall do so, the respondent person subject to the provisions of this Order shall not employ
 8   as a defense thereto the claim that the aggrieved party has an adequate remedy at law. Any
 9   persons subject to the terms of this Order agree that this Court shall retain jurisdiction over
10   it and them for the purposes of enforcing this Order. The remedies set forth in this Section
11   8(c) are not exclusive to any other remedies that an aggrieved party may elect to pursue.
12         (I)    NO ADMISSIONS:
13         Neither entering into this Stipulation for Protective Order nor receiving any
14   documents or other information designated as “CONFIDENTIAL” or “CONFIDENTIAL-
15   -ATTORNEYS’ EYES ONLY” shall be construed as an agreement or admission (1) that
16   any document or information designated as “CONFIDENTIAL” or “CONFIDENTIAL--
17   ATTORNEYS’ EYES ONLY” is in fact Confidential Information; (2) as to the correctness
18   or truth of any allegation made or position taken relative to any matter designated as
19   “CONFIDENTIAL” or “CONFIDENTIAL--ATTORNEYS’ EYES ONLY;” or (3) as to
20   the authenticity, competency, relevancy, or materiality of any information or document
21   designated as “CONFIDENTIAL” or “CONFIDENTIAL--ATTORNEYS’ EYES ONLY.”
22   This Order is not intended to modify or waive the provisions of the California Rules of
23   Civil Procedure or of the California Rules of Evidence. This Order does not require the
24   production of documents or information that would otherwise be non-discoverable.
25         (J)    SUBPOENA BY OTHER COURTS OR AGENCIES:
26         If another court or an administrative agency subpoenas or orders production of
27   “CONFIDENTIAL” or “CONFIDENTIAL—ATTORNEYS’ EYES ONLY” documents
28   which a party has obtained under the terms of this Order, before complying with such

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                                                                                20-CV-1809-DMS-WVG
 Case 3:20-cv-01809-DMS-WVG Document 27 Filed 01/14/21 PageID.168 Page 13 of 13



 1   subpoenas or orders, such party shall promptly notify the party or other person who
 2   designated the documents of the pendency of such subpoena or order.
 3         (K)    MODIFICATION - FURTHER AGREEMENTS:
 4         Nothing contained herein shall preclude any party from seeking from the Court
 5   modification of this Order upon proper notice or preclude the parties from entering into
 6   other written agreements designed to protect Confidential Information.
 7         Further, the Court may modify the protective order in the interests of justice or for
 8   public policy reasons.
 9         (L)    COUNTERPARTS:
10         This Joint Motion for Protective Order may be executed in counterparts, each of
11   which shall be deemed an original and which together shall constitute one instrument.
12         (m)    I hereby consent to the form, substance of this agreement and consent to entry
13   of this agreement as an order.
14         IT IS SO ORDERED.
15   Dated: January 14, 2021
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